Case 1:15-cv-00934-TSE-JFA Document 12-1 Filed 11/16/15 Page 1 of 7 PagelD# 77

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Alexandria Division

VERONICA KARIUKI )
)
Plaintiff, }
) Civil Case No.: 1:15-cv-00934-TSE-JFA
Vv. )
)
ETEAM, INC. )
)
)
Defendant. )
)

 

JOSEPH MIGLIOZZIV’S EXPERT WITNESS REPORT

1. My name is Joseph Migliozzi. I am the President of M3 Technology Consultants, an
information technology firm located in Centreville, Virginia.

2. Ihave been hired by Veronica Kariuki as an expert witness in the above-captioned
litigation between Veronica Kariuki and eTeam, Inc. to opine whether the e-mail Veronica Kartuki
received on August 5, 2013 was sent from the e-mail address knagdev@eteaminc.com and whether
the metadata associated with the above mentioned e-mail accurately demonstrates the authenticity
of the e-mail. A true and accurate copy of the August 5, 2013 e-mail is attached as Exhibit g. A
true and accurate copy of the e-mail with metadata is attached as Exhibit

3. I will provide the opinion that the e-mail Veronica Kariuki received on August 5, 2013 and
was in fact sent from the e-mail address knagdev@eteamine.com to the e-mail address
yeronicamkariuki@gmail.com on August 5, 2013. I will also provide the opinion that the e-mail
with the metadata accurately and correctly demonstrates that the August 5, 2013 e-mail was in fact
sent on August 5, 2013 from the e-mail address knagdev@eteamin¢.com to Veronica Kariuki’s e-
mail address at veronicamkariuki@gmail,com. The basis for my opinion and/or testimony is my
extensive education and experience with information technology, and a review of the August 5,
2013 from knagdev@eteamine.com and a review of the e-mail with the metadata attached.

 

4. My qualifications in information technology is: President of M3 Technology Consultants
with over 18 years of experience in the field of Information Technology supporting small
and midsize professional services companies throughout the Washington DC Metro Area.
[ have authored the following publications in the previous 10 years: M3TC White Paper on
AEC Best Practices.

5. The following is a list of all other cases in which, during the previous four (4) years, I have
testified as an expert at trial or by deposition: N/A.

 

 
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6. My compensation as Veronica Kariuki’s expert witness is: $200/hr.

Led B FED

Joseph P, Migliozzi
President
M3 Technology Consultants, Inc.

November 16!", 2015

 
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Date: Mon, Aug 5, 2013 at 12:22 PM
~ Subject: RE: Resume

To: V Kariuki <yeronivamkarluki@emall corm

 

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Hi Veronica,

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Field Job.
Thanks & Regards,

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EXHIBIT

 

 

 
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Regards, Kumar Nagdev Technical Recruiter eTeam Inc - "ACCELERATED
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